                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          MIDDLE DISTRICT OF TENNESSEE
                               COLUMBIA DIVISION

UNITED STATES OF AMERICA,                              )
                                                       )
                                                       )
v.                                                     )       Criminal No. 1:12-00010
                                                       )       Judge Trauger
                                                       )
[1] BENJAMIN RILEY BRADLEY                             )
[2] MELINDA ANNETTE BUIE                               )
[3] LINDA CHAPMAN                                      )
[4] JAMES ENGLISH PIERCE                               )
[5] DEREK WAYNE TURNER                                 )

                                              ORDER

         Defendant Bradley has filed a Motion to Continue The Trial, presently set for April 23,

2013, and all defendants and the government have indicated their concurrence in this motion. It

is therefore ORDERED that defendant Bradley’s Motion to Continue Trial is GRANTED,

conditioned upon the timely filing of waivers of speedy trial by all five defendants. By separate

order, the trial is being reset as to all five defendants for June 18, 2013.

         It is so ORDERED.

         Enter this 18th day of April 2013.



                                                       ___________________________________
                                                               ALETA A. TRAUGER
                                                             United States District Judge




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